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AO 91 (Rev. 11/1 I) Criminal Complaint



                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                         Middle District of Florida

                   United States of America                             )
                                 V.                                     )
  JOSE VARGES MARTIN, JOSE ARTIAGA HAMA,
                                                                        )       Case No.   2: i ?-"1;'r- I~ I f-T-AA S
   JESUS MARTINEZ SOTO, CARLOS FRANCO                                   )
  PICO, KLEBER ROBLERO MACIAS, and JASIEL                               )
               TORRES AYALA                                             )
                                                                        )
                           Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best ofmy knowledge and belief.
On or about the date(s) of                   February 19, 2019      _       _   in the county of     _    __!:!!_llsborough         in the
        Middle          District of            Florida            , the defendant(s) violated:

             Code Section                                                          Offense Description
46 U.S.C. §§ 70503(a) and 70506                  Conspiracy with intent to distribute five (5) kilograms or more of cocaine while
(a) and (b)                                      on board a vessel subject to the jurisdiction of the United States, and
                                                 possession with intent to distribute five (5) kilograms or more of cocaine,
                                                 while on board a vessel subject to the jurisdiction of the United States.




          This criminal complaint is based on these facts:

See Attached Affidavit.




          ~ Continued on the attached sheet.

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                                                                                                                        SA CC,/ f
                                                                                                                         ----
                                                                                                   Complainant 's signature

                                                                                        David M. Tomcsik, Special Agent, CGIS
                                                                                                    Printed name and title

Sworn to before me and signed in my presence.


Date:    yY\(l{(..,k \      1
                                2,o \'i

C ity and state:                          Tampa, Florida                              Amanda A. Sansone, U.S. Magistrate Judge
                                                                                                    Printed name and title
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             AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

        I, David M. Tomcsik, being duly sworn, depose and state:

                        Introduction and Agent Background

        1.     I am a Special Agent with the United States Coast Guard

  Investigative Service ("CGIS"), and have been employed by the U.S. Coast

  Guard since 1998. Since August of 2016, I have been assigned as a Special Agent

  to the Operation Panama Express Strike Force. Operation Panama Express is a

  federal Organized Crime Drug Enforcement Task Force ("OCDETF")

  investigation being conducted by the Federal Bureau of Investigation ("FBI"),

  Drug Enforcement Administration ("DEA"), Immigration and Customs

  Enforcement, Homeland Security Investigations ("HSI"), the Coast Guard

  Investigative Service ("CGIS"), the United States Coast Guard ("USCG"), and

  state and local law enforcement agencies. Investigations initiated by Operation

  Panama Express are prosecuted in the Middle District of Florida (Tampa

  Division). Special Agents assigned to Operation Panama Express currently

  investigate cocaine smuggling organizations that are responsible for the

  transportation of cocaine through international waters of the Caribbean Sea and

  Pacific Ocean via maritime vessels to transshipment locations for later

  introduction and distribution into the United States.
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                                  Statutory Authority

             2. I submit this affidavit in support of a criminal complaint charging

  that beginning on an unknown date, and continuing through on or about

  February 19, 2019, while on board a vessel subject to the jurisdiction of the

  United States, the defendants, JOSE CESAR VARGES-MARTIN, JOSE LUIS

  ARTIAGA-HAMA, JESUS MARTINEZ-SOTO, CARLOS EDUARDO

  FRANCO-PICO, KLEBER OSBALDO ROBLERO-MACIAS, and JASIEL

  OMAR TORRES-AYALA, each of whom will be brought into the United States

  at a point in the Middle District of Florida, did knowingly and willfully combine,

  conspire, and agree with each other and with other persons, to distribute and

  possess with the intent to distribute five kilograms or more of a mixture and

  substance containing a detectable amount of cocaine, a Schedule II controlled

  substance, in violation of 46 U.S.C. §§ 70503(a) and 70506(a) and (b), and 21

  U.S.C. § 960(b)(l)(B)(ii).

        3.      The averments contained in this Affidavit are based on my personal

  knowledge and/or reliable information related to me by other law enforcement

  officers with whom I have worked on this investigation. Because of the limited

  purpose of this Affidavit, however, I have not included each and every fact

  known to me or other law enforcement agents concerning this investigation. I

  have included only those facts I believe are necessary to establish probable cause

  supporting the requested complaint.

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                                      Probable Cause

                4. The UnitedStatesCoastGuard("USCG")hasauthorityunder 14 U.S.C. §89to

  make inquiries, examinations, inspections, searches, seizures, and arrests upon

  the high seas and waters over which the United States has jurisdiction, in order to

  enforce United States law.

           5.      On February 19, 2019, a maritime patrol aircraft visually detected a

  go fast vessel ("GFV") in international waters of the Eastern Pacific Ocean,

  approximately 310 nautical miles southwest of Acapulco, Mexico. The GFV was

  traveling north. The maritime patrol aircraft reported suspected contraband on

  the deck of the GFV, and the suspected contraband was partially visible and

  partially covered by a tarp. USCG Cutter STEADFAST ("STEADFAST") was

  diverted to intercept the GFV.

           6.      STEADFAST launched a small boat, otherwise known as an over

  the horizon vessel (0TH), in order to interdict the GFV, and conduct a right of

  visitation questioning. The GFV appeared to have detected the 0TH and/or the

  maritime patrol aircraft and went dead in the water.

           7.      The USCG 0TH approached the GFV, and as it was coming

  alongside the GFV, the operator of the GFV tried to take off at a high rate of

  speed.

           8.      The GFV aggressively attempted to ram the USCG 0TH, while

  USCG personnel were on board the 0TH. Due to the GFV's actions, the USCG

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  0TH was forced to used disabling fire, to stop the fleeing GFV. The USCG

  subsequently gained control of the GFV.

        9.     The boarding team of the USCG 0TH conducted a right of

  approach. No one on the GFV claimed to be the master of the GFV, and no

  nationality was claimed for the GFV.

         10.   While waiting for approval to conduct a full law enforcement

  boarding and approval to treat the suspect GFV without nationality and therefore

  subject to the laws of the United States, one of the six mariners from the GFV

  leaned over the fuel cans and lit a lighter over an open container of fuel causing a

  fire to break out. This same mariner clung to the gunwale of the GFV and

  continued to try to ignite more fuel barrels on fire.

         11.   The USCG boarding team attempted to extinguish the fire with a

  fire extinguisher from the USCG 0TH, but all attempts failed and the fire spread

  quickly due to the amount of fuel onboard the GFV. The fire was out of control

  within one minute, and engulfed the entire GFV. The six crewmen of the GFV

  jumped into the ocean, and the USCG boarding team got into the USCG 0TH.

  All six of the crewmen from the GFV were retrieved from the ocean by the

  USCGOTH.

         12.   The STEADFAST arrived on scene, and after about 90 minutes, the

  USCG successfully extinguished the fire.



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         13.    When the fire was completely extinguished and the remains of the

  GFV had sufficiently cooled, the USCG 0TH approached the GFV remains.

         14.    The majority of the GFV was burned to the waterline, but the hull

  contained several hundred burned, wet, and contaminated kilograms of

  contraband. The STEADFAST assessed the seaworthiness of the remains of the

  GFV, and was able to recover two full kilogram packages to preserve potential

  evidence. The remainder of the contraband was unsalvageable.

         15.    Two NIK tests were completed and yielded positive results for

  cocaine. The USCG boarding team estimates more than 100 bales of cocaine

  burned on the GFV.

         16.    In my training and experience, the GFV is consistent in style, size,

  and propulsion to other such vessels frequently used to transport cocaine across

  international waters in the Eastern Pacific Ocean.

         17.    The USCG sank the GFV as a navigation hazard and detained the

  six defendants, who will be brought into the United States in the Middle District

  of Florida.

         18.    Since there was no indicia of nationality from the GFV or from the

  crewmembers, the USGC determined that the vessel was without nationality, and

  thus subject to the jurisdiction of the United States.




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                                   CONCLUSION

        19.    Based upon the foregoing information, I respectfully submit that

  probable cause exists to believe that the following six defendants named herein,

  JOSE CESAR VARGES MARTIN, JOSE LUIS ARTIAGA HAMA, JESUS

  MARTINEZ SOTO, CARLOS EDUARDO FRANCO PICO, KLEBER

  OSBALDO ROBLERO MACIAS, and JASIEL OMAR TORRES AYALA,

  while on board a vessel subject to the jurisdiction of the United States, knowingly

  and willfully combined, conspired, and agreed with each other, and with other

  persons to distribute and possess with the intent to distribute five kilograms or

  more of a mixture and substance containing a detectable amount of cocaine, a

  Schedule II controlled substance, in violation of 46 U.S.C. §§ 70503(a) and

  70506(a) and (b), and 21 U .S.C. § 960(b)(l)(B)(ii).



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                                                                             C C,lf
                                                 David M. Tomcsik
                                                 Special Agent, CGIS


  Sworn t~ efore me in Tampa, Florida
  this \     day of Febnuuy, 2019.
                       ~



  ~ONOMli AMANDA A. SANSONE
  United States Magistrate Judge



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